Case 1:18-cv-10933-RA Document 73-3 Filed 05/16/19 Page 1 of 19

Manuel P. Asensio
400 East 54" Street, Apartment 29B
New York, New York 10022
mpa@asensio.com
[212] 702-8801

June 28, 2017
Delivered by Hand and Email —

Honorable Judge Adetokunbo O. Fasanya
New York County Family Court

60 Lafayette Street, Part 5, 4" Floor
'New York, New York 10013

(646) 386-5285

bdewire@nycourts.gov

Asensio vs. Bosak and Bosak vs. Asensio

Re: June 1, 2016 Contempt Hearing on Your Honor’s February 16th and May 12",
2017 Orders to show cause under the Court’s AFC appointment orders and my
opposition for sanctions of $120,000 for frivolous litigation [$10,000 per incident]
against the attorney for the child and a full refund of ten [10] payments she has
received totaling $40,880.62. [CAFC Fee Litigation”

Dear Judge Fasanya:

Please find enclosed Mr. Mitchell Cantor’s email of June 27" where he represented
that the Appellate Division for the First Department’s [“AD”] requires that a copy
of the transcription of the June 1“, 2017 proceedings be So Ordered so he can
resubmit a Motion to leave to appeal and a stay the proceedings we presented on
June 6, 2017.

In addition, I include my email of June 7" requesting that the Judge So Order the
transcript.

For your convenience, I have also enclosed a copy of Pages 11 thru 21 showing the
judge dismissing my legal arguments and application that you dismiss the February
16th and May 12", 2017 Orders to show cause seek contempt against me and not
proceed with the contempt hearing.
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é

As I have stated repeatedly, I will not defend against the mother’s motions or
petition before the Judge. The Judge granted my release on Nov. 4, 2016.
[Transcript of Proceedings at 37-39] The Judge ruled, “Your presence in this
courtroom is a voluntary one.... There’s no compulsion for you to be present in this
courtroom.... I will not...L will not take any steps to compel you to come to
court.... You are free not to come to court.” On November 16, 2015, the Judge
had ordered that I was “free to withdraw [your petition]. But if I have applications
that are pending before me, I will not permit you to withdraw the petition until I
address that application. ... I say ... at this point, Mr. Asensio, there’s no pending
application before me” The transcript of the March 13, 2017 proceedings at page
20, lines 19 — 20 shows the Judge ordering that, “All of Mr. Asensio’s petitions are
marked withdrawn.” I respectfully ask the Judge why he executed the February
t6th and May 12", 2017 Orders to show cause seek contempt against me what I
need to do to correct this misunderstanding to have finality so I do not have to
appear before the Judge.

I respectfully request that you So Order both of the enclosed and adjourn the June
30, 2017 court date for summation or in the alternative that the Judge withhold his

decision and/or stay enforcement until the AD makes a determination on the
motion for leave to appeal with a stay. Thank you.

Manuel P. Asensio

Cc: Alexis Wolf, Carmen Restivo and James B. Cooney.
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Manuel P. Asensio-Garcia

“rom: Mitchell Cantor [mc@mcantorlawoffice.com]

sent: Tuesday, June 27, 2017 6:11 PM

To: Manuel P. Asensio-Garcia

Subject: June 1, 2017 Transcript of Family Court Proceedings\Asensio v. Bosak, Docket No.

V-43839-13/13A

Importance: High

Dear Mr. Asensio: | appeared at the Appellate Division, First Department on June 6, 2017 with a proposed Motion for
Leave to Appeal the June 1, 2017 Order of the Hon. Adetokunbo O. Fasanya issued from the bench dismissing Petition
Asensio’s procedural opposition to the Order to Show Cause of the Attorney for the Child, Carmen Restivo, seeking to
hold Petitioner in contempt of court to compel Petitioner to pay her legal fees and for a stay pendente lite. As the
Motion was premised on the Order/Determination of Judge Fasanya issued from the bench on June 1, 2017, a copy of
the relevant pages of the transcript was attached to my motion papers as an exhibit thereto.

The Court attorney reviewed the papers and asked me whether the transcript of the June 1, 2017 proceedings had been
“so ordered”. | responded that it had not been. She thereupon directed me to return with the proposed motion and
application for a stay ONLY after | attached a “so ordered” copy of the transcript and stated on no uncertain terms that
the Appellate Division would not entertain my motion and application for a stay unless the transcript was “so ordered”.
In that | have not yet been furnished with a “so ordered” copy of the transcript the motion and application for a stay has
not yet been resubmitted. Warmly, Mitchell Cantor

The Law Offices of Mitchell Cantor
55 Lexington Avenue, Suite 401
New York, NY 10017
T: (212) 679-7820
E: meémeantorlawoffice.com
cantor. law @verizon.net

 
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From: <mpa(@asensio.com>
Date: June 7, 2017 at 2:31:20 PM EDT

To: Brittany De Wire <bdewire@nycourts.gov>

Ce: "Terry A. Brostowin" <TerryBrostowin@gmail.com>, Carmen Restivo
<crestivoesq@AOL.com>, Alexis Wolf <A Wolf@cmfesq.com>

Subject: Transmittal of AD Directive

 

URGENT COMMUNICATION UNDER DIRECTIVE FROM APPELLATE DIVISION'S
CLERK

Dear Ms. DeWire:

Good afternoon. It was a pleasure seeing you and the judge yesterday. Please pardon any errors
here. This is doubly urgent due to the judge's exclusionary rule.

The First Department's Court Clerk who preliminarily reviews all applications prior to sending
them to the duty judge. The Clerk did not accept a motion pertaining to the ongoing contempt
proceedings based an appeal from a directive contained in the June 1, 2017 transcript unless the
transcript was "so ordered" by the presiding judge. The Appellate Division's court clerk
instructed Mr. Cantor to return once he had a "so ordered" transcript.

The June 1st transcript is 60 pages. The immediate and urgent matter of concern is the judge
decision to proceed with the contempt Hearing after my council put on legal arguments under JL
770 and FCA 245 and the related decisional law pertaining these statutes and other legal
arguments.

I can provide you by email with copies of the cover sheet and the pertinent pages containing the
directives which are clearly affect any final determination of the matter and the signature page of
the Court's official transcript by email. This will make it very easy for the judge to review the
court reporter's transmission of his directive and so order that particular decision contained in the
directives handed down by the court on June 1 which of the full effect on the law of denying my
trial motion to dismiss.

Can you please kindly advise me of the judge's determination concerning this matter?
Thank you very much.

Manuel P. Asensio
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Manuel P. Asensio-Garcia

From: Manuel P. Asensio-Garcia

vent: Sunday, June 25, 2017 10:16 PM

To: ‘James Cooney’

7C: ‘Mitchell Cantor’; Terry A. Brostowin, Esq.
Subject: FASANYA'S REFUSUAL TO SO ORDER

Dear Mr. Cooney,
This service notice on you of facts and evidence applicable to tomorrow's hearing.

I copy Mitch Cantor, Esq. who appeared at the First Department to stay the contempt hearing based on
Respondent Fasanya's decision to proceed with the contempt hearing after my trial counsel, Terry rostowin,
name many of my legal arguments.. Kindly read my email to Respondent Fasanya below that I sent him out of
necessity. He refuses to allow me to file any motions or even oppositions or to take my telephone calls or
correspond to address the directive given to Mr. Cantor by first department.

I testified in the contempt hearing that I have evidence demonstrating Respondent Fasanya is deliberately acting
in clear absence of jurisdiction and presente Rotwien as a case that required him to allow me to make a record
of his conscious wrongdoing.

The judge use silence in order to proceed as a hidden denial. [f Respondent Fasanya agrees to So Order the
transcription of the his denial and order to proceed with the contempt hearing I could at least attent to seek a
stay. He blocked me for doing so by refusing to So Order the transcript.

Manuel P. Asensio
Begin forwarded message:

From: <mpa@asensio.com>
Date: June 7, 2017 at 2:31:20 PM EDT

To: Brittany DeWire <bdewire@nycourts.gov>
Ce: "Terry A. Brostowin" <TerryBrostowin@gmail.com>, Carmen Restivo <crestivoesg@AOL.com>, Alexis

Wolf <AWolf@cmfesg.com>
Subject: Transmittal of AD Directive

 

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Dear Ms. DeWire:

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The First Department's Court Clerk who preliminarily reviews all applications prior to sending them to the duty
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a directive contained in the June 1, 2017 transcript unless the transcript was "so ordered" by the presiding judge.
The Appellate Division's court clerk instructed Mr. Cantor to return once he had a "so ordered" transcript.
Case 1:18-cv-10933-RA Document 73-3 Filed 05/16/19 Page 6 of 19

The June Ist transcript is 60 pages. The immediate and urgent matter of concern is the judge decision to proceed
with the contempt Hearing after my council put on legal arguments under JL 770 and FCA 245 and the related
decisional law pertaining these statutes and other legal arguments.

1 can provide you by email with copies of the cover sheet and the pertinent pages containing the directives
shich are clearly affect any final determination of the matter and the signature page of the Court's official

transcript by email. This will make it very easy for the judge to review the court reporter's transmission of his

directive and so order that particular decision contained in the directives handed down by the court on June 1

which of the full effect on the law of denying my trial motion to dismiss.

Can you please kindly advise me of the judge's determination concerning this matter?

Thank you very much.

Manuel P. Asensio
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FAMILY COURT OF THE STATE OF NEW YORK
CITY OF NEW YORK - COUNTY OF NEW YORK
ee ee a ee ee x
In the Matter of a Proceeding for
the Custody and/or Visitation of
Minors Under Article Six of the
Family Court Act

MANUEL P. ASENSIO,

EMILIE BOSAK,

Petitioners, Docket NO.:

V-43839-13/13A

-against-

EMILIE BOSAK,
MANUEL P. ASENSIO,

Respondents.
Held: June 1, 2017
60 Lafayette Street
New York, New York 10013

Before: Hon. ADETOKUNBO O. FASANYA,

Judge

Family Court of the State of New York

Appearances:
ALEXIS WOLF, Esq.
Attorney for Emilie Bosak .

TERRY BROSTOWIN, Esq.
Attorney for Manuel Asensio

CARMEN RESTIVO, Esq.
Attorney for the child

Also present:
Manuel Asensio, witness

Charlene Fountaliotis-Squires
Official Court Reporter
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PROCEEDINGS ae ds

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THE COURT: Did you file a response to the
application?

MR. BROSTOWIN: I have not filed a response to the
application. My client wants this court to know that he
does not believe, and correct me if I'm wrong, that I have
not given my client the proper and enough opportunity for
him to consult with me between -- consult with me to
properly prepare and to defend him against the current order
to show cause to hold him in contempt for the nonpayment of
attorneys fees for Ms. Restivo.

THE COURT: That's your client's view, right?

MR. BROSTOWIN: And he further indicates --

THE COURT: Mr. Brostowin, please answer my
question.

That's your client's view?

MR. BROSTOWIN: That is correct, Judge.

THE COURT: That is not something that is material
to me at this point.

MR. BROSTOWIN: He also --

THE COURT: You will both please stop for a second.

We're going to proceed with the application. This
application has been pending for quite a while now. The
supplemental was then filed. When you appeared. on the last
court date I asked of you whether you needed additional

time, you said yes. Over the objection of Ms. Restivo, I
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PROCEEDINGS 12

granted the time. We're here today. We're going to
proceed.

MR. BROSTOWIN: Just for the record I understand the
court's ruling. My client further just wanted me to let the
court know that he does not have at least one necessary
witness for the contempt hearing. And, two, and
additionally, as he's just shown me binders, very thick
folders with a lot of documents in it, which I have not even
seen yet and I wanted to let the court know that.

THE COURT: We're going to proceed.

So we addressed this before, there's an existing
order. The application contains the necessary documents.
There's the billing vouchers that I believe are attached.
The amount outstanding at this point based on that
application and supplemental as of the -- May 11th,
according to Ms. Restivo's papers is $30,367.40.

Ms. Restivo, it is your application, I want to hear
you first.

MS. RESTIVO: Yes, your Honor.

I still have not received payment. I'm ready to
proceed. I don't know if, your Honor, wishes me to put the
exhibits that are attached to the order to show cause or is
that sufficient?

THE COURT: It is an application, the exhibits --

MS. RESTIVO: I would ask that we proceed and as,
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PROCEEDINGS 13

excuse me, as AFC-1 I'm handing up the invoice --

THE COURT: You don't have to hand up anything, it
is attached to your application.

MS. RESTIVO: Okay.

I ask that the court take notice of the exhibits
attached to the order to show cause filed in February, as
well as the supplemental filed in May.

THE COURT: Ms. Wolf, by the way, are you taking a
position with regards to this portion of the proceedings?

MS. WOLF: No, your Honor.

THE COURT: Mr. Brostowin, Ms. Restivo rests on her
papers.

You ready to enter your defense?

MR. BROSTOWIN: Yes, Judge.

THE COURT: What is the defense?

MR. BROSTOWIN: Since Ms. Restivo has the burden of
proof to prove to this court a finding that my client is in
contempt, she has made no application other than enter in as
evidence her papers that she is asking this court to take
judicial notice of, which is her order to show cause and her
supplemental order to show cause. But there's certain
procedural requirements that the law dictates that she --
hurdles that she crosses over in order to allow this court
to satisfy such contempt.

THE COURT: Such as what?
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PROCEEDINGS 14

MR. BROSTOWIN: I'm going to get to that.

I don't think that she should be allowed to have
the opportunity to reopen her case, since she rested.

THE COURT: Such as what?

MR. BROSTOWIN: Number one, she must show to this
court on her case in chief, her direct case that she has
properly and personally followed alternative services that
this court authorized to serve my client, number one. And,
number two, she cites three sections of three different laws
in her application before this court to justify a contempt
against my Client. Although, it is not real sure if she is
proceeding under civil contempt or criminal contempt,. but
she did mention CPLR Section 5104, DRL Section 245 and
Judiciary Law Section 756. If we turn to those three
statutory authorities of which she rests her contempt motion
on, she does not have authority to bring an action against
my client for contempt solely for the purposes of
nonpayments of attorney for the child fees. She may
potentially have other remedies and other applications, but
that's not before this court.

CPLR 5104 mandates that my client must be
personally served with a certified copy of the duly entered
decision and order of the court. There's been no
representation to this court or any documents presented at

this contempt hearing that my client was personally served
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PROCEEDINGS L5

with a certified copy which would violate CPLR section 5104.

Turning now to the remaining SECTION of DRL section
245, that --

THE COURT: Can you just -- are you -- is what you
are doing now, is that in the nature of a preliminary
objection or are you entering your defense?

MR. BROSTOWIN: Well, my client will testify if the
court is satisfied that Ms. Restivo has cleared the hurdle
of all the necessary procedural and administrative steps
that I believe this court must take into consideration akin
to a trial order of dismissal before I get to the actual
defense of this case.

THE COURT: Go ahead.

MR. BROSTOWIN: So if we turn to the other section
of the law that was cited, which is DRL Section 245, that
section specifically deals with divorces, separations or
annulments, which is not the subject matter of these
jurisdictions. The parties are divorced. Separation is
not applied, nor does an annulment. So the. sections. that
were cited and my client was given notice of, are not
sections of the law that she can proceed on before. this
court. And she has not satisfied those certain procedural
requirements before this court and can even entertain an
application for a contempt.

If the court were to look at Judiciary Law and
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PROCEEDINGS 16

quite frankly CPLR and DRL, those issues when contempt may

potentially be a remedy, not a punishment, those sections

deals -- deal with parties. The parties to this action are
my client and Ms. Bosak. Any attorney for a child is not a
party to the action. It is someone who was appointed by

the court to represent the party, so they fall outside of
the gamut of what the law allows supported by the Appellate
Division when it talks about when contempt is allowable for
a violation -- a willful violation of a court order. It is
my experience --

THE COURT: Do you have case law to back that
statement up?

MR. BROSTOWIN: I can fully brief this, if it is
necessary, if this court is not satisfied and goes forward
with the hearing, I would be asking for written summations
with a briefing schedule.

THE COURT: You can ask.

MR. BROSTOWIN: Right.

So I also in my experience in practicing
matrimonial law, family law and other types of law in this
court, when attorneys are not paid'and I have been on Ms.
Restivo's side many, many times, the prevailing wisdom and I
might say virtually every single case that I have ever. seen
has been that --

MS. RESTIVO: I would object to him saying what he
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PROCEEDINGS 17

finds to be the --

THE COURT: No, there's nothing to object to. Mr.
Brostowin is making his argument, I will hear him.

MR. BROSTOWIN: So it has been my experience that
when an attorney is not paid, a proper remedy because a
party has not been injured, the proper remedy is not
contempt, the proper remedy is to convert that into a
judgment and let the judgment creditor attach to collect on
that judgment. It is not meant to punish somebody. And
if a hearing is held, then we will -- I think there's a
requirement to show whether my client had the financial
ability to comply with --

THE COURT: If we do have a hearing, right?

MR. BROSTOWIN: I understand, so I do not think the
legal requirements have been met.

As the court probably knows, each and every issue

' that is brought before this court probably will end up in

the Appellate Division.

THE COURT: That you don't have to tell me.

MR. BROSTOWIN: I understand that.

THE COURT: That's -- you don't have to address
that with this court. If we address what we need to address
and you want to seek remedy elsewhere, you are always free
to do that. I don't need to know that at this point... |

MR. BROSTOWIN: Additionally, Family Court Act
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PROCEEDINGS 18

section 248 mandates that in Family Court proceedings if an
attorney for a child is to be ordered, that that is to be
paid by the State. That's Family Court Act section 248.
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THE COURT: Mr. Brostowin, I indicated on the last
court date that that issue has been litigated to the
Appellate Division and back, we're past that.

Your client already took that order up to the

 

Appellate Division -- stop speaking while I'm speaking, Mr.

 

Asensio.

Your client took the order in question up to the

 

Appellate Division, at a point my order was stayed and the

 

Appellate Division denied his application. So we're done

 

-- we're done with that issue.

 

MANUEL ASENSIO: No, we're not, your Honor. We
were at the Appellate Division, there was no ruling at the
Appellate Division.

THE COURT: Mr. Brostowin, tell your client to stop
talking.

MANUEL ASENSIO: I need to talk to you. You don't
know the proceedings.

THE COURT: Tell your client to stop talking.

MANUEL ASENSIO: I need to speak to my client, your
Honor.

MR. BROSTOWIN: I'm your lawyer.
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PROCEEDINGS 19

Can I speak to my client in the well, your Honor?

THE COURT: I'm going to give you one more
opportunity to do that and that's the last time I'm going to
permit that.

MANUEL ASENSIO: That is not right, your Honor.

COURT OFFICER: Step out.

MANUEL ASENSTIO: You should object to this also to
this screaming.

COURT OFFICER: I'm not screaming, sir.

MANUEL ASENSIO: You are in my face.

COURT OFFICER: You are standing towards me, sir.

Step into the well.

THE COURT: Step outside, Mr. Asensio.

MANUEL ASENSTIO: Object to this.

COURT OFFICER: Here you go.

THE COURT: In the well.

COURT OFFICER: Thank you.

MR. BROSTOWIN: Have a seat.

Judge, my client wants the court to know that he

 

believes there was a misrepresentation of what happened in

the Appellate Division. I was not the attorney representing

 

him in the Appellate Division application.

THE COURT: Mr. Brostowin, it doesn't matter.

 

Whatever occurred in the Appellate Division occurred in the

Appellate Division. The order is back -- the application
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PROCEEDINGS 20
is back -- the proceedings are back before me. The order
continues to be in place. That's it.

 

MR. BROSTOWIN: My client --

THE COURT: You can continue.

MR. BROSTOWIN: My client also indicates that he has
filed actually opposition and cross motions to the order to
show cause that Ms. Restivo filed.

My client indicates that it was filed and served.
I'm indicating that to the court.

THE COURT: Filed and served -- filed before who?

MR. BROSTOWIN: He says that he filed it before the
court and served it on Ms. Restivo.

THE COURT: When?

MR. BROSTOWIN: They are dated March 13th in court.
He is indicating that he served the opposition and cross,
which his papers are dated March 7th. They were filed on
March 7s and served on March 13th in court. I was not here,
that is what he is indicating.

He further indicates that he served the
supplemental opp and cross, which are dated his papers March
12th, all in 2017.

He further indicates to me that he does not believe
that this -- it is appropriate for the contempt hearing to
go forward should the procedural requirements be met,

because there's outstanding discovery that he indicates that
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PROCEEDINGS 21

he engaged in before I was retained and that has -- that has

not occurred.

THE COURT: We're going to proceed, Mr. Brostowin.

 

Go ahead, I'm listening to you.

MR. BROSTOWIN: My client wants to testify, Judge.

THE COURT: You are calling your client?

MR. BROSTOWIN: I'm calling Manuel Asensio.

THE COURT: Call him.

MANUEL ASENSIO: I have no alternatives, right?

COURT OFFICER: Sir, are you testifying?

MANUEL ASENSIO: I would like this guy to stay away
from me, your Honor.

THE COURT: Are you calling your client, Mr.
Brostowin?

MR. BROSTOWIN: I'm calling Manuel Asensio.

MANUEL ASENSIO: I want this guard's name on the
record. This guard's -- this court officer's name on the
record, your Honor.

THE COURT: Please take the stand, Mr. Asensio.

COURT OFFICER: Come on.

MANUBL ASENSTIO: Should I bring the papers up that
you haven't seen?

MR. BROSTOWIN: Go ahead.

MANUEL ASENSTIO: I guess I will hand them to you or

you will hand them to me.
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PROCEEDINGS 68

THE COURT: How is 2:15?

MR. BROSTOWIN: That is fine for the respondent.

THE COURT: Ms. Restivo, how is 2:15 on Tuesday the
6th of June?

MS. RESTIVO: Yes, your Honor.

THE COURT: Mr. Asensio, you may return to your
seat. I will see counsel in the robing room.

(Whereupon, there was a robing room conference.)

THE COURT: Back on the record.

This hearing will be continued on June 6th at 2:15.
I'm directing all of you to be here at 2:00 on June 6th.
Everybody is to be here, including your client, Mr.
Brostowin, at 2:00.

MR. BROSTOWIN: Yes.

Thank you.

THE COURT: Thank you.

COURT OFFICER: All parties are excused.

Please step out.

Kak KK Ka KKK KKK Kk Kk KK KKK KKK KKK KK KK KKK KK KKK Kk kK kk KKK KK KK KK KK KKK KKK KK

Court Reporter's Certification
IL hereby certify that the foregoing transcript is a txuwe and
accurate record of the stenographic proceedings in tie above
matter.
This transcript is prepared

 

  
    
    

h the OCA/UCS

court
transcripts as of August 16, 20N

Charlene Fount lot ?s-Squires

Official Court Reporter
